       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 1 of 9



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NORTH DAKOTA
                              EASTERN DIVISION

ROSELINE VINCENT,                       )
                                        )         Case No.____________________
                    Plaintiff,          )
                                        )
     vs.                                )         COMPLAINT AND TRIAL BY JURY
                                        )         DEMAND
COLLECTION CENTER, INC.,                )
                                        )
                    Defendant.          )
                                        )

                                 NATURE OF ACTION

       1.     Plaintiff Roseline Vincent (“Plaintiff”) brings this action against Defendant

Collection Center, Inc. (“Defendant”) pursuant to the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.

                     JURISDICTION, VENUE, AND STANDING

       2.     This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.

       3.     Plaintiff has Article III standing to bring this action, as it seeks to redress

conduct by Defendant that caused Plaintiff to suffer intangible harms, which Congress

has made legally cognizable in passing the FDCPA. See Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1549, 194 L. Ed. 2d 635 (2016), as revised (May 24, 2016) (Congress is “well

positioned to identify intangible harms that meet minimum Article III requirements,” and

thus “may ‘elevat[e] to the status of legally cognizable injuries concrete, de facto injuries

that were previously inadequate in law.’” (quoting Lujan v. Defs of Wildlife, 504 U.S.

                                              1
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 2 of 9



555, 578 (1992)); Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 WL

3671467, at *3 (N.D. Ill. July 11, 2016) (“Without the protections of the FDCPA,

Congress determined, the ‘[e]xisting laws and procedures for redressing these injuries are

inadequate to protect consumers.’” (quoting 15 U.S.C. § 1692(b)).

       4.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where

the acts and transactions giving rise to Plaintiff’s action occurred in this district, where

Plaintiff resides in this district, and where Defendant transacts business in this district.

                 THE FAIR DEBT COLLECTION PRACTICES ACT

       5.      Congress enacted the FDCPA to “eliminate abusive debt collection

practices, to ensure that debt collectors who abstain from such practices are not

competitively disadvantaged, and to promote consistent state action to protect

consumers.” Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573,

577 (2010) (citing 15 U.S.C. § 1692(e)).

       6.      “[T]he FDCPA is a broad remedial statute that imposes strict liability on

debt collectors; its terms are to be applied ‘in a liberal manner.’” Cordes v. Frederick J.

Hanna & Associates, P.C., 789 F. Supp. 2d 1173, 1175 (D. Minn. 2011) (quoting Owens

v. Hellmuth & Johnson, PLLC, 550 F. Supp. 2d 1060, 1063 (D. Minn. 2008)).

       7.      “The FDCPA is a remedial, strict liability statute which was intended to be

applied in a liberal manner.” Picht v. John R. Hawks, Ltd., 77 F.Supp.2d 1041, 1043 (D.

Minn. 1999).




                                               2
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 3 of 9



       8.      “In evaluating whether a debt collection letter is false, misleading, or

deceptive in violation of § 1692e, the letter must be viewed through the eyes of an

unsophisticated consumer.” Peters v. Gen. Serv. Bureau, Inc., 277 F.3d 1051, 1055 (8th

Cir. 2002).

       9.      The unsophisticated consumer standard is “designed to protect consumers

of below average sophistication or intelligence, but they also contain an ‘objective

element of reasonableness.’” Peters v. Gen. Serv. Bureau, Inc., 277 F.3d 1051, 1055 (8th

Cir. 2002) (quoting Gammon v. G.C. Services Ltd. Partnership, 27 F.3d 1254, 1257 (7th

Cir. 1994)).

       10.     Therefore, a debt collector is liable for engaging in conduct that could

mislead the unsophisticated consumer even if the debt collector did not intend to mislead,

and even if the plaintiff is not actually misled.

                                          PARTIES

       11.     Plaintiff is a natural person who at all relevant times resided in the State of

North Dakota, County of Grand Forks, and City of Grand Forks.

       12.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       13.     Defendant is an entity who at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from Plaintiff, as

defined by 15 U.S.C. § 1692a(5).

       14.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).




                                               3
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 4 of 9



                              FACTUAL ALLEGATIONS

       15.    Plaintiff is a natural person allegedly obligated to pay a debt.

       16.    Plaintiff’s alleged obligation arises from a transaction in which the money,

property, insurance, or services that are the subject of the transaction were incurred

primarily for personal, family, or household purposes—namely, personal medical

services (the “Debt”).

       17.    Defendant uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts.

       18.    Defendant regularly collects or attempts to collect, directly or indirectly,

debts owed or due, or asserted to be owed or due, another.

       19.    In or around December 2017, the parties entered into an agreement

regarding repayment of the Debt wherein Plaintiff agreed to make monthly payments of

$100, beginning January 2018 and continuing until the $2,206.35 balance was paid off.

       20.    Defendant also agreed that interest would not be assessed on the balance of

the Debt.

       21.    At no point has Plaintiff missed a payment.

       22.    On or about January 25, 2019, Plaintiff called Defendant and requested the

payoff amount for the Debt.

       23.    In response, and in connection with the collection of the Debt, Defendant

faxed Plaintiff a letter dated January 25, 2019.




                                              4
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 5 of 9



       24.      A true and correct copy of the January 25, 2019 letter is attached as Exhibit

A.

       25.      Defendant’s January 25, 2019 letter lists the payoff amount as $1,229.71

and solicits Plaintiff to make a payment by phone, online, or mail. Exhibit A.

       26.      That same day, Plaintiff emailed Defendant’s representative, Mr. Fischer,

disputing the payoff amount.

       27.      A true and correct copy of Plaintiff’s January 25, 2019 email to Mr. Fischer

is attached as Exhibit B.

       28.      Plaintiff’s email informed Mr. Fischer that since January 2018, she has paid

$1,300 on the Debt and that the payoff amount should actually be $906.35. See Exhibit B.

       29.      In response, Mr. Fischer confirmed that the correct payoff amount was

indeed $906.35.

       30.      A true and correct copy of Mr. Fischer’s January 25, 2019 email is attached

as Exhibit C.

       31.      Mr. Fischer also informed Plaintiff that her account had been “placed into a

status that calculated statutory interest” and acknowledged that the interest should not

have been assessed. Exhibit C.

       32.      Despite Mr. Fischer’s assurance that the balance of the Debt was $901.35,

Defendant continued its attempts to collect more than it was entitled to.

       33.      In connection with the collection of the Debt, Defendant sent Plaintiff a

letter dated January 26, 2019.


                                               5
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 6 of 9



       34.      A true and correct copy of Defendant’s January 26, 2019 letter is attached

as Exhibit D.

       35.      Defendant’s January 26, 2019 letter lists the payoff amount as $1,234.13

and solicits Plaintiff to make a payment by phone, online, or mail. Exhibit D.

                                    COUNT I
                         VIOLATION OF 15 U.S.C. § 1692e(2)(A)

       36.      Plaintiff repeats and re-alleges each factual allegation contained above.

       37.      The FDCPA creates a broad, flexible prohibition against the use of

misleading, deceptive, or false representations in the collection of debts. See 15 U.S.C. §

1692e. See Hamilton v. United Healthcare of Louisiana, Inc., 310 F.3d 385, 392 (5th

Cir. 2002) (citing legislative history reference to the FDCPA’s general prohibitions which

“will enable the courts, where appropriate, to proscribe other improper conduct which is

not specifically addressed”).

       38.      Included as an example of conduct that violates section 1692e is the false

representation of the character, amount, or legal status of a debt. 15 U.S.C. §

1692e(2)(A).

       39.      Thus, the plain-language of the FDCPA makes it clear that under the strict

liability framework, any false representation as to the amount of the debt is sufficient to

show a violation of the FDCPA. See Randolph v. IMBS, Inc., 368 F.3d 726, 730 (7th Cir.

2004) (“§ 1692e(2)(A) creates a strict-liability rule. Debt collectors may not make false

claims, period.”); see also Turner v. J.V.D.B. & Associates, Inc., 330 F.3d 991, 995 (7th

Cir. 2003) (“under § 1692e ignorance is no excuse”).

                                               6
       Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 7 of 9



       40.      Here, Defendant’s January 25, 2019 letter falsely represented that Plaintiff

owed $1,229.71 when she only owed $906.35.

       41.      Therefore, Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely

representing the character, amount, or legal status of Plaintiff’s alleged Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k(a)(2)(A), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

                action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

                by law; and

             f) Awarding such other and further relief as the Court may deem proper.

                                       COUNT II
                              VIOLATION OF 15 U.S.C. § 1692e(10)

       42.      Plaintiff repeats and re-alleges each factual allegation contained above.

       43.      Congress, recognizing that it would be impossible to foresee every type of

deceptive collection misbehavior, expressly included in the FDCPA a catchall provision,

prohibiting “[t]he use of any false representation or deceptive means to collect or attempt

to collect any debt or to obtain information concerning a consumer.” 15 U.S.C. §

1692e(10).

                                               7
      Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 8 of 9



      44.      The FDCPA is intended to be “comprehensive, in order to limit the

opportunities for debt collectors to evade the under-lying legislative intention,” and

therefore the same conduct may violate multiple sections of the Act. Clark v. Capital

Credit & Collection Servs., Inc., 460 F.3d 1162, 1178 (9th Cir. 2006) (citing FTC

Official Staff Commentary on FDCPA, 53 Fed. Reg. 50097, 50101).

      45.      Defendant violated 15 U.S.C. § 1692e(10) by using false, deceptive, or

misleading representations or means in connection with the collection of the Debt.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

               1692k(a)(2)(A), in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

            d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this

               action pursuant to 15 U.S.C. § 1692k(a)(3);

            e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible

               by law; and

            f) Awarding such other and further relief as the Court may deem proper.

                                     TRIAL BY JURY

      46.      Plaintiff is entitled to and hereby demands a trial by jury.


Dated: April 8, 2019
                                                   Respectfully submitted,


                                               8
Case 3:19-cv-00064-DLH-ARS Document 1 Filed 04/15/19 Page 9 of 9




                                   s/ Amorette Rinkleib
                                   Amorette Rinkleib
                                   Thompson Consumer Law Group, PLLC
                                   5235 E Southern Ave, D106-618
                                   Mesa, AZ 85206
                                   Telephone: (602) 899-9189
                                   Facsimile: (866) 317-2674
                                   arinkleib@consumerlawinfo.com

                                   Attorneys for Plaintiff




                               9
